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       UNITED STATES COURT OF APPEALS FOR THE THIRD CIRCUIT

                                                                         BCO-067
                                     No. 23-1779

                                IN RE: COINBASE INC.,
                                           Petitioner

Present: KRAUSE, PORTER, and CHUNG, Circuit Judges

      1. Motion by Chamber of Commerce of the United States of America to Proceed
         as Amicus on the Merits in Support of Petitioner, to file Brief in Support of
         Petitioner Out of Time

      2. Motion by Paradigm Operations LP to Proceed as Amicus on the Merits in
         Support of Petitioner

      3. Motion by Investor Choice Advocates Network to Proceed as Amicus on the
         Merits in Support of Petitioner

      4. Motion by Crypto Council for Innovation to Proceed as Amicus on the Merits
         in Support of Petitioner


                                                     Respectfully,
                                                     Clerk/pdb

_________________________________ORDER________________________________
The foregoing motions are hereby GRANTED.


                                                     By the Court,

                                                     s/Cheryl Ann Krause
                                                     Circuit Judge

Dated: May 11, 2023
PDB/cc: All Counsel of Record
